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CHAD WRIGHT
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Attorney for Defendant

                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                          HELENA DIVISION

 UNITED STATES OF AMERICA,                            CR 24-26-BMM

                Plaintiff,
                                                DEFENDANT ESPINOZA’S
 vs.                                           MOTION TO CHANGE PLEA
                                             FROM NOT GUILTY TO GUILTY
 BRYANT NICHOLAS ESPINOZA,                     WITH A PLEA AGREEMENT

               Defendant.


                                    MOTION

       COMES NOW Defendant Bryant Nicholas Espinoza, by and through his

undersigned counsel, Chad Wright, and the Federal Defenders of Montana, and

respectfully advises that he has reached a plea agreement with the United States.

       The agreement involving Mr. Espinoza’s intention to plead guilty to Count I

of the Indictment, which charges the crime of possession of a firearm in a school


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zone, in violation of 18 USC §922(g)(2)(A), has been signed by Mr. Espinoza, his

counsel, and government counsel and has been filed with the Court. The plea

agreement need not be filed under seal.

      Based on the foregoing notice of intention, Mr. Espinoza requests that the

Court set down a convenient time for a change of plea hearing and vacate the

evidentiary hearing set for February 27, 2025, the trial set for March 4, 2025, and all

associated deadlines previously ordered by the Court on December 24, 2024 (ECF

No. 18).

                                  CONCLUSION

      WHEREFORE, Mr. Espinoza respectfully requests that the Court set down a

convenient time for a change of plea hearing.

      RESPECTFULLY SUBMITTED this 13th day of February, 2025.

                                              /s/ Chad Wright
                                              CHAD WRIGHT
                                              Assistant Federal Defender
                                              Federal Defenders of Montana
                                              Counsel for Defendant




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                           CERTIFICATE OF SERVICE
                                  L.R. 5.2(b)

         I hereby certify that on February 13, 2025, a copy of the foregoing document

was served on the following persons by the following means:

     1         CM-ECF

     2         E-Mail

1.       CLERK, UNITED STATES DISTRICT COURT

1.       PAULETTE STEWART
         Assistant United States Attorney
         United States Attorney's Office
         901 Font Street, Suite 1100
         Helena, MT 59626
               Counsel for the United States of America

2.       BRYANT NICHOLAS ESPINOZA
             Defendant

                                        /s/ Chad Wright
                                        FEDERAL DEFENDERS OF MONTANA




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